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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


FREDERICK FORD, JR.                                                              PLAINTIFF


v.                                 Case No. 4:19-cv-4159


LARRY BURRIS and
QUALITY DRIVE AWAY, INC.                                                      DEFENDANTS


                                          ORDER

       Before the Court is Plaintiff’s Motion for Voluntary Dismissal Without Prejudice. ECF

No. 11. Plaintiff moves the Court to dismiss without prejudice his claims against Defendants.

Upon consideration, the Court finds that the motion should be and hereby is GRANTED. Pursuant

to Federal Rule of Civil Procedure 41(a)(2), Plaintiff’s complaint is DISMISSED WITHOUT

PREJUDICE.

       IT IS SO ORDERED, this 18th day of September, 2020.

                                                         /s/ Susan O. Hickey
                                                         Susan O. Hickey
                                                         Chief United States District Judge
